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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


HYON SUK LEE,
                                                       JUDGMENT For ATTORNEY FEES IN A CIVIL CASE
                                Plaintiff,
         v.                                            Case Number: 2:19-cv-00076-KJD-CWH
KILOLO KIJAKAZI,
Acting Commissioner of Social Security,

                                 Defendant.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.
x
         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
that the Court hereby awards to Marc V. Kalagian attorney fees pursuant to 42 U.S.C. § 406(b) in the amount
of $10,000.00. The Court orders Marc V. Kalagian to reimburse Hyon Suk Lee the amount of $2,500.00 for
EAJA fees previously paid by the Commissioner.




         12/6/21
         ____________________                                 DEBRA K. KEMPI
         Date                                                Clerk


                                                              /s/ H. Magennis
                                                               /s/ D. Reich-Smith
                                                             Deputy Clerk
